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Case 5:18-cr-00231-JGB Document1 Filed 08/01/18 Page1of4 Page ID#:1

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UNITED STATES DISTRICT COURT | *
POR THE CENTRAL DISTRICT OF CALIFORNIA | .
September, 20 rr370 0 e 4 { \GB
UNITED STATES OF AMERICA, ED G CR No. 18-
Plaintiff, INDICTMENT

Vv. [18 U.S.C. § 242: Deprivation of
Rights Under Color of Law]
JOHN JACOB OLIVAS,

Defendant.

 

 

 

 

The Grand Jury charges:
INTRODUCTORY ALLEGATIONS
1. At all times relevant to this Indictment:
a. Defendant JOHN JACOB OLIVAS (“OLIVAS”) was a Special
Agent of United States Immigration and Customs Enforcement (“ICE”),
Homeland Security Investigations (“HSI”), formerly known as “ICE,
Office of Investigations.”
b. As part of his position as a Special Agent of ICE-HSI,
and to enable him to carry out his responsibilities in that position,
defendant OLIVAS was issued official government credentials, badge,

and a firearm by ICE-HSI.

 

 
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Case 5:18-cr-00231-JGB Document1 Filed 08/01/18 Page 2o0f4 Page ID #:2

COUNT ONE
[18 U.S.C. § 242]

From in or about August 2011 to in or about January 2012, in
Riverside County, within the Central District of California, and
elsewhere, defendant JOHN JACOB OLIVAS (‘“OLIVAS”), while acting under
color of law, willfully deprived K.L. of the right secured and
protected by the Constitution and laws of the United States to be
free from deprivations of liberty without due process of law, which
includes the right to bodily integrity. Specifically, in or about
January 2012, defendant OLIVAS attempted to engage in vaginal
intercourse with K.L. without her consent and by using force against
K.L., after communicating to K.L. that the police would not be
responsive to any report she may make about defendant OLIVAS because
of defendant OLIVAS’s position as a federal law enforcement officer.

This offense included attempted aggravated sexual abuse.

 

 
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Case 5:18-cr-00231-JGB Document1 Filed 08/01/18 Page 3o0f4 Page ID#:3

COUNT TWO
[18 U.S.C. § 242]

From in or about March 2012 to on or about September 29, 2012,
in Riverside County, within the Central District of California, and
elsewhere, defendant JOHN JACOB OLIVAS (“OLIVAS”), while acting under
color of law, willfully deprived N.B. of the right secured and
protected by the Constitution and laws of the United States to be
free from deprivations of liberty without due process of law, which
includes the right to bodily integrity. Specifically, in or about
September 2012, defendant OLIVAS engaged in vaginal intercourse with
N.B. without her consent and by using force against N.B., after
communicating to N.B. that the police would not be responsive to any
report she may make about defendant OLIVAS because of defendant
OLIVAS’s position as a federal law enforcement officer. This offense
included aggravated sexual abuse and attempted aggravated sexual

abuse.

 
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Case 5:18-cr-00231-JGB Document1 Filed 08/01/18 Page 4of4 Page ID #:4

COUNT THREE
[18 U.S.C. § 242]
From on or about September 30, 2012 to in or about November

2012, in Riverside County, within the Central District of California,

|land elsewhere, defendant JOHN JACOB OLIVAS (“OLIVAS”), while acting

under color of law, willfully deprived N.B. of the right secured and
protected by the Constitution and laws of the United States to be
free From deprivations of liberty without due process of law, which
includes the right to bodily integrity. Specifically, on or about
November 9, 2012, defendant OLIVAS engaged in vaginal intercourse
with N.B. without her consent and by using force against N.B., after
communicating to N.B. that the police would not be responsive to any

report she may make about defendant OLIVAS because of defendant

OLIVAS’s position as a federal law enforcement officer. This offense

included aggravated sexual abuse and attempted aggravated sexual

abuse.

A TRUE BILL

[s/

Foreperson

NICOLA T. HANNA
United States Attorney

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LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

JOSEPH B. WIDMAN
Assistant United States Attorney
Chief, Riverside Branch Office

 

 
